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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

   HENRY'S LOUISIANA GRILL, INC.,
   et al.,
          Plaintiffs,
                 v.                                     CIVIL ACTION FILE
                                                        NO. 1:20-CV-2939-TWT

   ALLIED INSURANCE COMPANY OF
   AMERICA,

          Defendant.

                                   OPINION AND ORDER


        This is a breach of contract case. It is before the Court on the Defendant’s

Motion to Dismiss [Doc. 4] and the Plaintiffs’ Motion to Certify Questions of

Law to the Georgia Supreme Court [Doc. 8]. For the reasons set forth below,

the Defendant’s Motion to Dismiss [Doc. 4] is GRANTED and the Plaintiffs’

Motion to Certify Questions of Law to the Georgia Supreme Court [Doc. 8] is

DENIED.

                                       I.       Background

        The Plaintiffs, Henry’s Louisiana Grill and Henry’s Uptown (“Henry’s),

are a restaurant and affiliated “private party and overflow” space, respectively.

(Compl. ¶¶ 5–6.) The Plaintiffs maintained insurance through the Defendant,

Allied Insurance Company of America (“Allied”). (Compl. ¶ 8.) Generally, the

Plaintiffs’ policy insured the Plaintiffs “against direct physical loss unless” the

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loss was excluded or limited by other provisions in the insurance contract.

(Compl., at 30.) As part of its coverage, the Plaintiffs’ policy included Business

Income coverage:

        g.       Business Income

                 (1)     Business Income with Ordinary Payroll Limitation

                         (a)      We will pay for the actual loss of “business
                                  income” you sustain due to the necessary
                                  suspension of your “operations” during the
                                  “period of restoration.” The suspension must
                                  be caused by direct physical loss of or damage
                                  to property at the described premises. . . .
                         (c)      We will only pay for loss of “business income”
                                  that you sustain during the “period of
                                  restoration” and that occurs within the
                                  number of consecutive months shown in the
                                  Declarations for Business Income-Actual Loss
                                  Sustained after the date of direct physical loss
                                  or damage. . . .

(Compl., at 33–34.) In a subsequent definitions section, the policy defines

“period of restoration” as the time period between the direct physical loss and

the earlier of:

        (i)      The date when the property at the described premises
                 should be repaired, rebuilt or replaced with reasonable
                 speed and similar quality; or
        (ii)     The date when the business is resumed at a new
                 permanent location.

(Compl., at 67.)

        In addition to this Business Income coverage, the policy included Civil

Authorities Coverage:

        When a Covered Cause of Loss causes damage to property other
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        than property at the described premises, we will pay for the actual
        loss of Business Income you sustain and necessary Extra Expense
        caused by action of civil authority that prohibits access to the
        described premises, provided both of the following apply:
        (1)     Access to the area immediately surrounding the damaged
                property is prohibited by civil authority as a result of the
                damage . . . ; and
        (2)     The action of civil authority is taken in response to
                dangerous physical conditions resulting from the damage
                or continuation of the Covered Cause of Loss that caused
                the damage, or the action is taken to enable a civil
                authority to have unimpeded access to the damaged
                property.

(Compl., at 35.)

        Further, the Plaintiffs’ policy included a specific “Virus or Bacteria”

exclusion, under which the Defendant would “not pay for loss or damage caused

directly or indirectly by . . . [a]ny virus, bacterium or other microorganism that

induces or is capable of inducing physical distress, illness, or disease.” (Compl.,

at 48, 50.)

        On March 14, 2020, in response to the growing threat of COVID-19 in

the State of Georgia, Governor Brian Kemp issued an Executive Order

declaring a “Public Health State of Emergency.” (See Compl. ¶ 9; Pl.’s Mot. to

Certify, Ex. 2, at 3.) This Executive Order generally activated resources and

loosened certain regulation as a response to COVID-19. For example, the

Executive Order allowed the grant of temporary licenses to medical

professionals and loosened weight restrictions on vehicles providing emergency

relief. (See Pl.’s Mot. to Certify, Ex. 2, at 4–5.)

        As a “direct response” to the Governor’s Executive Order, the Plaintiffs
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closed its dining rooms, the Plaintiffs’ primary source of revenue. (Compl.

¶ 13.) On March 27, 2020, the Plaintiffs notified the Defendant of the closure

of its dining rooms. (Compl. ¶ 14.) However, after further communication

between the Plaintiffs and the Defendant, the Defendant denied coverage for

this closure, pointing to the language of the Business Income provision and the

Virus or Bacteria exclusion. (Compl. ¶¶ 15–16.) The Plaintiffs claim that the

Defendant repeatedly misquoted the policy in their communications and relied

on the misquote in denying coverage. (Compl. ¶ 16.) The Plaintiffs note that at

no time has there been “any virus located at, on, or in Plaintiff’s premises.”

(Compl. ¶ 17.)

                                    II.      Legal Standards

        A. Motion to Dismiss

        A complaint should be dismissed under Rule 12(b)(6) only where it

appears that the facts alleged fail to state a “plausible” claim for relief. Ashcroft

v. Iqbal, 129 S. Ct. 1937, 1949 (2009); Fed. R. Civ. P. 12(b)(6). A complaint may

survive a motion to dismiss for failure to state a claim, however, even if it is

“improbable” that a plaintiff would be able to prove those facts; even if the

possibility of recovery is extremely “remote and unlikely.” Bell Atlantic v.

Twombly, 550 U.S. 544, 556 (2007). In ruling on a motion to dismiss, the court

must accept the facts pleaded in the complaint as true and construe them in

the light most favorable to the plaintiff. See Quality Foods de Centro America,

S.A. v. Latin American Agribusiness Dev. Corp., S.A., 711 F.2d 989, 994–95
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(11th Cir. 1983); see also Sanjuan v. American Bd. of Psychiatry & Neurology,

Inc., 40 F.3d 247, 251 (7th Cir. 1994) (noting that at the pleading stage, the

plaintiff “receives the benefit of imagination”). Generally, notice pleading is all

that is required for a valid complaint. See Lombard’s, Inc. v. Prince Mfg., Inc.,

753 F.2d 974, 975 (11th Cir. 1985), cert. denied, 474 U.S. 1082 (1986). Under

notice pleading, the plaintiff need only give the defendant fair notice of the

plaintiff’s claim and the grounds upon which it rests. See Erickson v. Pardus,

551 U.S. 89, 93 (2007) (citing Twombly, 550 U.S. at 555).

        B. Motion to Certify

        Federal courts have the discretion to certify questions of law to the

Supreme Court of Georgia for an answer on determinative state law issues in

the cases before them. See O.C.G.A. § 15-2-9. “Under this circuit’s precedents,

we should certify questions to the state supreme court when we have

substantial doubt regarding the status of state law.” Peoples Gas Sys. v. Posen

Constr., Inc., 931 F.3d 1337, 1340 (11th Cir. 2019) (internal quotation marks

omitted). As the Eleventh Circuit has noted:

        While this circuit traditionally has been less reluctant than
        others to certify questions of state law, it nonetheless has been
        our practice to do so with restraint and only after the
        consideration of a number of factors: . . . [t]he most important are
        the closeness of the question and the existence of sufficient
        sources of state law ... to allow a principled rather than
        conjectural conclusion.

Royal Capital Development, LLC v. Maryland Cas. Co., 659 F.3d 1050, 1055

(11th Cir. 2011) (internal quotation marks and punctuation omitted).
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                                        III.     Discussion

        In its Motion to Dismiss, the Defendant argues that the plain language

of the Business Income and Civil Authority coverage provisions indicates the

Plaintiffs’ suspension of their dining room operations is not a covered loss. (Br.

in Support of Def.’s Mot. to Dismiss, at 6.) Further, the Defendant argues that

even if the closure of the dining rooms represents a covered loss, the policy’s

“Virus or Bacteria” exclusion precludes coverage. (Id. at 10.) In response, the

Plaintiffs argue that the closure of their dining rooms qualifies as a “direct

physical loss of” a covered property, and that if this Court has any doubts, it

should certify a question to the Georgia Supreme Court to define this phrase.

(Pls.’ Br. in Opp’n to Def.’s Mot. to Dismiss, at 6, 13.) The Plaintiffs also argue

that they have pleaded sufficient facts to state a claim under the Civil

Authority coverage provision, and that the “Virus or Bacteria” exclusion is

inapplicable because the dining rooms were closed in response to the

Governor’s Orders, not COVID-19. (See id. at 17–18.)

        “In Georgia, insurance is a matter of contract, and the parties to an

insurance policy are bound by its plain and unambiguous terms.” Hays v. Ga.

Farm Bureau Mut. Ins. Co., 314 Ga. App. 110, 111 (2012) (punctuation

omitted). Construction of the policy’s terms are questions of law:

        The court undertakes a three-step process in the construction of
        the contract, the first of which is to determine if the instrument’s
        language is clear and unambiguous. If the language is
        unambiguous, the court simply enforces the contract according to
        its terms, and looks to the contract alone for the meaning.
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American Empire Surplus Lines Ins. Co. v. Hathaway Dev. Co., 288 Ga. 749,

750 (2011) (internal citations omitted). Unambiguous terms must be given

effect “even if beneficial to the insurer and detrimental to the insured,” and

Georgia courts “will not strain to extend coverage where none was contracted

or intended.” Jefferson Ins. Co. of New York v. Dunn, 269 Ga. 213, 215 (1998).

By Georgia statute, “the whole contract should be looked to in arriving at the

construction of any part.” O.C.G.A. § 13-2-2.

        A. Business Income Loss Coverage

        Because the Plaintiffs and the Defendant argue the plain language of

the policy leads to different results, a thorough analysis of the relevant

provisions is required here. With regards to the Plaintiffs’ Business Income

claim, the parties agree that the key phrase is “direct physical loss of or damage

to” the covered property.

        In seeking to dismiss this claim, the Defendant argues that “a direct

physical loss of or damage to” requires some form of physical change to the

covered premises. (Def.’s Br. in Supp. of Def.’s Mot. to Dismiss, at 6.) Because

no physical change occurred at the Plaintiffs’ property as a result of COVID-19

or the Governor’s Executive Order, no coverage can extend to their losses. (Id.

at 8.) In response, the “Plaintiffs argue that physical change did occur: prior to

the Executive Order, Plaintiffs’ dining room space was physically available to

patrons, whereas after the Executive Order was issued, Plaintiffs’ dining room

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space was no longer physically available to patrons.” (Pls.’ Br. in Opp’n to Def.’s

Mot. to Dismiss, at 13.)

        While Georgia case law analyzing this phrase is relatively sparse, both

parties discuss at-length one Georgia Court of Appeals case, AFLAC, Inc. v.

Chubb & Sons, Inc., 260 Ga. App. 306 (2003). In AFLAC, an insured had

several policies with its insurer that included various provisions with three

similar phases: “direct physical loss of or damage to;” “direct physical loss of,

or damage to;” and, “direct physical loss or damage to.” Id. at 307. Under these

provisions, the insured filed claims with its insurer to cover expenses related

to software updates made in preparation for potential fallout from “Y2K.” Id.

at 306.

        Despite the different underlying facts and the number of semantic

variations analyzed, the decision provides some direction in interpreting the

provision before this Court. First, the AFLAC court defined some terms

relevant here. The court held that the “or” in this context is a coordinating

conjunction, meaning the coordinating adjectives “direct physical” “modify the

word ‘damage’ as ‘connected’ to the word ‘loss.’” Id. at 308. Further, the court

defined “direct” as “without intervening persons, conditions, or agencies;

immediate.” Id. (internal quotation marks and punctuation omitted). In

addition, the court found:

        [T]he words “loss of” . . . and the words “damage to” . . . make it
        clear that coverage is predicated upon a change in the insured
        property resulting from an external event rendering the insured
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        property, initially in a satisfactory condition, unsatisfactory.

Id.

        Both parties have attempted to apply the AFLAC understanding of

these terms to support their case. The Defendant argues no relevant physical

change took place, while the Plaintiffs argue that the Governor’s Executive

Order generated a physical change that rendered the once-satisfactory dining

rooms “unsatisfactory.” (See Def.’s Br. in Supp. of Def.’s Mot. to Dismiss, at 6–

8; Pls.’ Br. in Opp’n to Def.’s Mot. to Dismiss, at 8.)

        The Plaintiffs’ allegation of a physical change here is curious. The

Plaintiffs repeatedly note that COVID-19 has never been identified on the

premises. 1 (See Pls.’ Br. in Opp’n to Def.’s Mot. to Dismiss, at 19–20.)

Therefore, no physical change as a result of the virus’ presence can be argued

here. Instead, the Plaintiffs cast the Governor’s Executive Order as imposing

some physical change on the covered premises. Under the Plaintiffs’ logic, a

minute before the Governor issued the Order, the dining rooms existed in one

state. A minute later, the Governor issued the Order, and the restaurant


        1      This fact, emphasized by the Plaintiffs, distinguishes this case
from the cases the Plaintiffs point to as support for their position. One district
court in Missouri has declined to dismiss several similar cases, holding that
the plaintiffs properly stated a claim of physical loss. See, e.g., Studio 417, Inc.
v. Cincinnati Ins. Co., Civ. A. No. 20-cv-03127, 2020 WL 4692385 (W.D. Mo.
Aug. 12, 2020). However, in those cases, the insureds alleged that COVID-19
was present on their premises, and that the virus’ presence caused the physical
damage. See id. at *4. As such, those claims are distinguishable from the
Plaintiffs’ claims here, where the alleged source of the physical loss is the
Governor’s Executive Order.
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underwent a direct physical change that left the dining rooms in a different

state. This interpretation of the contractual language exceeds any reasonable

bounds of possible construction, pushing the words individually and

collectively beyond what any plain meaning can support.

        First, the claim that the Governor’s Executive Order had a “direct” effect

on the Plaintiffs’ dining rooms defies both the ordinary meaning and the

AFLAC court’s definition of the word. The Order did not have an “immediate”

effect on the dining rooms “without intervening persons, conditions, or

agencies.” AFLAC, 260 Ga. App. at 308; see Direct, MERRIAM-WEBSTER.COM

DICTIONARY, https://www.merriam-webster.com/dictionary/direct, (last visited

Sept. 25, 2020) (defining “direct” as “stemming immediately from a source”).

The Order, by its plain terms, declares a Public Health State of Emergency and

mobilizes state resources to manage the threat. The Order did not impose

limitations on businesses or their operations. The Plaintiffs’ closure was likely

prudent, but that decision was not made directly by the Order—it was made

by intervening persons as a result of intervening conditions. With regards to

the Plaintiffs, the Order was at most an official recognition of an already

present threat, and it did not have a direct effect on the dining rooms.

        Second, holding that the Governor’s Executive Order led to a “physical

loss of” the dining rooms would massively expand the scope of the insurance

coverage at issue here. Under the AFLAC definition, the Order would have to

generate “a change in the insured property resulting from an external event
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rendering the insured property, initially in a satisfactory condition,

unsatisfactory.” AFLAC, 260 Ga. App. at 308. As mentioned above, the Order

merely recognized an existing threat. It did not represent an external event

that changed the insured property. Every physical element of the dining

rooms—the floors, the ceilings, the plumbing, the HVAC, the tables, the

chairs—underwent no physical change as a result of the Order. The only

possible change was an increased public and private perception of the existing

threat, which cannot be deemed a physical change that rendered the property

unsatisfactory. The Plaintiffs’ construction would potentially make an insurer

liable for the negative effects of operational changes resulting from any

regulation or executive decree, such as a reduction in a space’s maximum

occupancy. See Plan Check Downtown III, LLC v. Amguard Ins. Co., Civ. A.

No. 2:20-cv-06954, slip op. at 9 (C.D. Cal. Sept. 10, 2020) (outlining scenarios

where an insurer would be held liable under this improper construction of the

policy).

        As a final interpretative argument, the Plaintiffs claim that the

Defendant’s interpretation of “direct physical loss of” renders the words

“damage to” surplusage, which is disfavored under Georgia law. (See Pls.’ Br.

in Opp’n to Def.’s Mot. to Dismiss, at 14.) The Plaintiffs allege that though

their dining rooms experienced no damage, they experienced a “physical

spatial loss of their dining rooms,” and this definition eliminates surplusage

concerns between “loss of” and “damage to.” (Id. at 15.) However, the plain
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meanings of these terms indicate they have different and complementary

meanings in this context.

        To determine the plain meaning of these words, Georgia courts look to

various dictionaries to provide guidance. See Western Pac. Mut. Ins. Co. v.

Davies, 267 Ga. App. 675, 678 (2004) (“In construing a contract of insurance to

ascertain the intent of the parties, the court should give a term or phrase in

the contract its ordinary meaning or common signification as defined by

dictionaries . . . .”). Black’s Law Dictionary defines “loss” as “the disappearance

or diminution of value,” while Merriam-Webster provides “the act of losing

possession.” Loss, BLACK’S LAW DICTIONARY (10th ed. 2014); Loss, MERRIAM-

WEBSTER.COM DICTIONARY, https://www.merriam-webster.com/dictionary/loss,

(last visited Sept. 25, 2020). Black’s Law Dictionary defines “damage” as “loss

or injury to person or property,” and Merriam-Webster’s definition is

substantially the same. Damage, BLACK’S LAW DICTIONARY (10th ed. 2014);

Damage,                          MERRIAM-WEBSTER.COM                 DICTIONARY,

https://www.merriam-webster.com/dictionary/damage, (last visited Sept. 25,

2020) (defining “damage” as “loss or harm resulting from injury to person,

property, or reputation”). These definitions can support two different

meanings—that loss is the “disappearance of value” or “the act of losing

possession” by complete destruction, while damage is any other injury

requiring repair. As an illustrative example, a tornado that destroys the

entirety of the restaurant results in a “loss of” the restaurant, while a tree
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falling on part of the kitchen would represent “damage to” the restaurant.

        This understanding of the contract language is further emphasized by

the policy’s definition of the “period of restoration.” Because Georgia law

requires that the whole contract should be analyzed to give meaning to its

parts, this definition is instructive in analyzing undefined words and phrases.

See O.C.G.A. § 13-2-2. The “period of restoration” is the time period during

which the insurer will cover the insured’s business income losses, and is

defined as the time between the date of the loss and the earlier of:

        (i)      The date when the property at the described premises
                 should be repaired, rebuilt or replaced with reasonable
                 speed and similar quality; or
        (ii)     The date when the business is resumed at a new
                 permanent location.

(Compl., at 67.) This definition appears to contemplate a range of potential

covered damages, ranging from those requiring repairs or replacements to

those requiring the relocation of the business. This range of contemplated

harms aligns with an understanding that “loss of” means total destruction

while “damage to” means some amount of harm or injury.

        Thus, the contract language issue here is not ambiguous, and because

the Governor’s Executive Order did not create a “direct physical loss of” the

Plaintiffs’ dining rooms, the Business Income provision does not apply to the

Plaintiffs’ claims. 2


        2   This Court notes that though jurisprudence regarding COVID-19
is understandably in its early stages, recent decisions within the Eleventh
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        B. Civil Authority Coverage

        As an alternative means of coverage, the Plaintiffs argue that the

policy’s Civil Authority provision requires the Defendant to cover their

business income losses. This provision states:

        When a Covered Cause of Loss causes damage to property other
        than property at the described premises, we will pay for the actual
        loss of Business Income you sustain and necessary Extra Expense
        caused by action of civil authority that prohibits access to the
        described premises, provided both of the following apply:
        (1)     Access to the area immediately surrounding the damaged
                property is prohibited by civil authority as a result of the
                damage . . . ; and
        (2)     The action of civil authority is taken in response to
                dangerous physical conditions resulting from the damage
                or continuation of the Covered Cause of Loss that caused
                the damage, or the action is taken to enable a civil
                authority to have unimpeded access to the damaged
                property.

(Compl., at 35.) The Plaintiffs argue that because of the community spread of

COVID-19, property other than its own had been damaged by the virus, which

led to the issuance of the Governor’s Executive Order. (See Pls.’ Br. in Opp’n to

Def.’s Mot. to Dismiss, at 17–18; Pls.’ Surreply Br. in Opp’n to Def.’s Mot. to

Dismiss, at 6.)


Circuit appear to align with this Court’s decision here. See Malaube, LLC v.
Greenwich Ins. Co., Civ. A. No. 20-22615-Civ, 2020 WL 5051581, at *8 (S.D.
Fla. Aug. 26, 2020) (holding that allegations of “direct physical loss or damage”
without alleging that the virus has entered the premises does not state a claim
for which relief can be granted); cf. Mama Jo’s Inc. v. Sparta Ins. Co., No. 18-
12887, 2020 WL 4782369, at *8–9 (11th Cir. Aug 18, 2020) (citing favorably, in
a non-pandemic context, AFLAC’s definition of “direct physical loss or damage”
and rejecting a business interruption claim for losses incurred by construction
dust and debris landing in the restaurant over a period of time).
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        Even accepting the Plaintiffs’ allegations of damage to other property as

true, the Plaintiffs have not pleaded sufficient facts to demonstrate coverage

under the Civil Authority provision. The provision contains several clear

conditions precedent for coverage. First, the Plaintiffs have pleaded no facts

regarding a civil authority’s action that prohibited access to the premises. The

Governor’s Executive Order had no substantive provisions limiting access to

private businesses or their operations. While the Order could be read as

“advising” residents to stay home, the Order itself does not represent an action

to prohibit access to the described premises. (Pls.’ Surreply Br. in Opp’n to

Def.’s Mot. to Dismiss, at 6.) And the Plaintiffs point to no other action by a

civil authority that could have prohibited access to their dining rooms at the

time of the closure. Second, the Plaintiffs pleaded no facts that the areas

“immediately surrounding” the damaged properties were blocked by the civil

authority. In fact, the Plaintiffs do not identify any particular property around

their premises which was damaged by COVID-19 or had its access restricted

by a civil authority. Finally, with no damaged property or civil authority action

identified, the Plaintiffs cannot plead facts that the civil authority’s access

limitations resulted from COVID-19 or were necessary to allow the civil

authority’s unimpeded access to area. Thus, by failing to plead sufficient facts

to satisfy several conditions precedent, the Plaintiffs cannot claim coverage




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under the Civil Authority provision. 3

        C. The Plaintiffs’ Motion to Certify

        As discussed above, the Plaintiffs have failed to state a claim for

coverage under this contract. As such, the Plaintiffs have not generated a

“substantial doubt regarding the status of state law” required to support

certification of these questions to the Georgia Supreme Court. Peoples Gas Sys.

v. Posen Constr., Inc., 931 F.3d 1337, 1340 (11th Cir. 2019) (internal quotation

marks omitted). A dearth of Georgia Supreme Court decisions addressing a

particular phrase cannot be sufficient cause—on its own—to certify a question

to that court. That is especially true where, as here, the contract language is

unambiguous as to coverage on these facts. Given this Court’s view of the

unambiguous contract language, this Court will not exercise its discretion to

certify the Plaintiffs’ proposed questions of law to the Georgia Supreme Court.

                                        IV.     Conclusion

        This Court recognizes the challenging position the Plaintiffs found

themselves in. The COVID-19 pandemic has imposed massive changes and

pressures on every business and every household in this country. The

Plaintiffs, faced with a difficult decision, made a choice that they felt would

best ensure the health of their customers and employees. This Court’s decision



        3    Because the Plaintiffs have not pleaded sufficient facts to support
a claim for coverage here, this Court will not proceed to analyze the parties’
arguments regarding the Virus or Bacteria exclusion.
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here is not a judgment on the Plaintiffs’ business sense or the wisdom of

shuttering dining rooms in the face of a global pandemic. This decision merely

reflects the plain language of the parties’ insurance contract.

        For the reasons set forth above, the Defendant’s Motion to Dismiss [Doc.

4] is GRANTED and the Plaintiffs’ Motion to Certify Questions of Law to the

Georgia Supreme Court [Doc. 8] is DENIED.

        SO ORDERED, this 6 day of October, 2020.



                                           /s/Thomas W. Thrash
                                           THOMAS W. THRASH, JR.
                                           United States District Judge




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